                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI

TARVISIUM HOLDINGS, LLC, et al.,                    )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )      Case No. 4:19-CV-0086-DGK
                                                    )
DUKAT, LLC, et al.,                                 )
                                                    )
                      Defendants.                   )

 PLAINTIFFS’ SUPPLEMENTAL SUGGESTIONS ON THE APPLICATION OF THE
      AUTOMATIC STAY AS TO THE NON-DUKAT, LLC DEFENDANTS

       COME NOW Plaintiffs, pursuant to the Court’s Order of September 14, 2021 (Dkt. No.

256), and for their Supplemental Suggestions on the Application of the Automatic Stay as to the

Non-Dukat, L.L.C. Defendants, state as follows:

       1.     On August 19, 2021, the Honorable Kathryn C. Ferguson entered an Order in

Dukat’s New Jersey bankruptcy adversary proceeding (Adv. Pro. No. 21-01315 (KCF)) regarding

the extension of the automatic stay to the non-Dukat Defendants. A true and correct copy of that

Order is attached hereto and incorporated by reference as Exhibit # 1.

       2.     In sum, Judge Ferguson extended the automatic stay and entered a preliminary

injunction against Plaintiffs as to non-Debtors Elliott Kattan and Mourad Kattan through

September 21, 2021, at which time Dukat’s plan of reorganization is due to be filed. Judge

Ferguson declined to extend the stay to non-Debtors Benjamin Schwartz and 36Lower, Inc.




                                                1

        Case 4:19-cv-00086-DGK Document 257 Filed 09/15/21 Page 1 of 2
                                           Respectfully submitted:

                                           ROUSE FRETS WHITE GOSS
                                           GENTILE RHODES, P.C.

                                           /s/ R. Todd Ehlert
                                           R. TODD EHLERT                      MO #51853
                                           BRETT C. RANDOL                     MO #57699
                                           JOEL H. DRISKELL                    MO #70552
                                           5250 W. 116th Place, Suite 400
                                           Leawood, Kansas 66211
                                           Telephone: (913) 387-1600
                                           Facsimile: (913) 928-6739
                                           tehlert@rousepc.com
                                           brandol@rousepc.com
                                           hdriskell@rousepc.com
                                           Attorneys for Plaintiffs


                              CERTIFICATE OF SERVICE

       The undersigned hereby confirms that on this 15th day of September, 2021, a copy of the
foregoing was filed via the Court’s electronic filing system, and a copy was mailed to the
following:

Benjamin Schwartz
37 Herrick Avenue
Teaneck, NJ 07666

36Lower, Inc.
180 Talmadge Road, Ste. 509
Edison, NJ 08817


                                           /s/ R. Todd Ehlert
                                           Attorney for Plaintiffs




                                              2

        Case 4:19-cv-00086-DGK Document 257 Filed 09/15/21 Page 2 of 2
